                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   ASHEVILLE DIVISION

 MILES WALKER,                                   )
                                                 )
         Plaintiff,                              )
                                                 )
 v.                                              )
                                                        Civil No. 1:19-cv-00127-GCM
                                                 )
 ANDREW SAUL,                                    )
 Commissioner of Social Security,                )
                                                 )
         Defendant.                              )

                                             ORDER

       Upon stipulation of the parties, it is hereby ordered that Defendant will pay Plaintiff

$4,975.00 in attorney’s fees in full satisfaction of all claims arising under the Equal Access to

Justice Act, 28 U.S.C. § 2412. If the award to Plaintiff is not subject to the Treasury Offset

Program, payment will be made by check payable to Plaintiff’s counsel, Olinsky Law Group, in

accordance with Plaintiff’s assignment to his attorney of his right to payment of attorney’s fees

under the Equal Access to Justice Act.



                                             Signed: May 19, 2020




         Case 1:19-cv-00127-GCM Document 20 Filed 05/19/20 Page 1 of 1
